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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF MAINE

TODD SULLIVAN,                         )
                                       )
       Plaintiff,                      )
                                       )
       v.                              )       2:15-cv-00275-NT
                                       )
JOSEPH FITZPATRICK, et al.,            )
                                       )
       Defendants.                     )



            RECOMMENDED DECISION AFTER SCREENING COMPLAINT
                   PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A


       In this action, Plaintiff Todd Sullivan, an inmate in the custody of the Maine Department

of Corrections, alleges that Defendants maintain an unconstitutional policy that denies sex

offenders access to a minimum security classification that would permit them to participate in the

“Supervised Community Confinement Program,” and that, as a consequence, they cannot enjoy

the minimum security conditions or earn the related good time credits. On July 31, 2015, the Court

granted Plaintiff’s request to proceed in forma pauperis. (ECF No. 6.)

       When a party is proceeding in forma pauperis, “the court shall dismiss the case at any time

if the court determines,” inter alia, that the action is “frivolous or malicious” or “fails to state a

claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B). “Dismissals [under 28 U.S.C.

§ 1915] are often made sua sponte prior to the issuance of process, so as to spare prospective

defendants the inconvenience and expense of answering such complaints.” Neitzke v. Williams,

490 U.S. 319, 324 (1989); see also Mallard v. U.S. Dist. Ct. S.D. Iowa, 490 U.S. 296, 307-308

(1989) (“Section 1915(d), for example, authorizes courts to dismiss a ‘frivolous or malicious’
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action, but there is little doubt they would have power to do so even in the absence of this statutory

provision.”).

       In addition to the review contemplated by § 1915, because Plaintiff currently is

incarcerated and seeks redress from governmental entities and officers, Plaintiff’s complaint is

subject to screening under the Prison Litigation Reform Act. See 28 U.S.C. § 1915A(a), (c). The

§ 1915A screening requires a court to “identify cognizable claims or dismiss the complaint, or any

portion of the complaint, if the complaint (1) is frivolous, malicious, or fails to state a claim …; or

(2) seeks monetary relief from a defendant who is immune from such relief.” 28 U.S.C. §

1915A(b).

       In his complaint, Plaintiff appears to maintain that he is entitled to some relief because the

policy is discriminatory and thus its application constitutes a violation of due process or equal

protection. As the many decisions upholding the constitutionality of state sex offender registration

and notification acts reflect, sex offender status is not a suspect category for purposes of due

process or equal protection and, therefore, policy decisions regarding sex offender status are

subject to deferential review to determine whether a rational basis supports the decisions. See

e.g., Doe v. Cuomo, 755 F.3d 105, 113, 115 (2d Cir. 2014) (rejecting due process and equal

protection claims by prisoner asserting he was entitled to a hearing to determine whether he was a

sufficient threat to justify subjecting him to a sex offender registration requirement); State v.

Letalien, 2009 ME 130, ¶ 50, 985 A.2d 4, 22 (“Protecting the public from potentially dangerous

sex offenders is, without question, a compelling state interest in furtherance of the state’s police

powers.”). The rational basis review precludes a finding that the denial of community release to

prisoners convicted of sex offenses offends the Constitution. Griffin v. Mahoney, 243 Fed. App’x




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221, 222 (9th Cir. 2007) (affirming summary dismissal under 28 U.S.C. § 1915A in case alleging

denial of access to sex offender rehabilitation program and resulting ineligibility for parole).

       Furthermore, to the extent that Plaintiff attempts to assert a more general claim about the

prison conditions, the law does not recognize a constitutional right to due process unless the

conditions imposed present an atypical and significant hardship in relation to the ordinary incidents

of prison life. Sandin v. Conner, 515 U.S. 472, 484 (1995); Griffin, 243 Fed. App’x at 222.

Plaintiff has not alleged any facts that would support a finding of the existence of an atypical and

significant hardship.

       In short, Plaintiff has failed to state a claim upon which relief can be granted. Dismissal

of Plaintiff’s complaint is thus warranted.

                                              CONCLUSION

       Based on the foregoing analysis, the recommendation is that the Court dismiss Plaintiff’s

action pursuant to 28 U.S.C. §§ 1915(e)(2), 1915A(b).

                                               NOTICE

               A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered pursuant to
       28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, within fourteen (14) days of being served
       with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
       days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right to de
       novo review by the district court and to appeal the district court’s order.

                                                /s/ John C. Nivison
                                                U.S. Magistrate Judge

       Dated this 12th day of August, 2015.




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